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                       IN THE UNITED STATES DISTRICT COURT

                          FOR THE DISTRICT OF NEW MEXICO

SHARON BEGAY-MCABE, Individually,
And as Administrator for the Estate
Of SHARINDA FELOCITA CHAVEZ, Deceased,

       Plaintiffs,

vs.                                                  No. 1:13-CV-1052 RB/CG

THE UNITED STATES OF AMERICA,

       Defendant.

                              STIPULATION OF DISMISSAL

       Plaintiff and Defendant United States of America, through their undersigned counsel,

hereby stipulate and agree that the above-captioned case and cause of action are dismissed with

prejudice, with each party to bear its own costs.

       This stipulation is entered into in accordance with the provisions of Rule 41(a) (1) (ii) of

the Federal Rules of Civil Procedure.

                                                     Respectfully submitted,

                                                     DAMON P. MARTINEZ
                                                     United States Attorney


                                                      /S/ electronically filed August 15, 2014
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                                  Electronic approval August 14, 2014
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